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                                   UNITED STATES DISTRICT COURT
1
                                   NORTHERN DISTRICT OF GEORGIA
2

3      CASSANDRA GROVE,                                  Case No.: 1:23-cv-05320-TWT-JEM
4                 Plaintiff,
                                                         APPLICATION FOR ENTRY OF
5      v.                                                DEFAULT AGAINST NELNET
                                                         SERVICING, LLC DBA
6
                                                         FIRSTMAKR SERVICES
       NELNET SERVICING, LLC DBA
7
       FIRSTMARK SERVICES; EXPERIAN
8      INFORMATION SOLUTIONS, INC.;
       EQUIFAX INFORMATION SERVICES
9      LLC, and TRANSUNION LLC,
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                  Defendants.
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     To the Clerk of the United States District Court for the District of the Northern District of
12
     Georgia:
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14
             As provided by Rule 55 of the Federal Rules of Civil Procedure, Plaintiff, Cassandra

15   Grove, requests that the Clerk enter the default of the following Defendant for failure to
16
     plead or otherwise defend against this action in a timely manner Nelnet Servicing, LLC dba
17
     Firstmark Services (hereinafter “Firstmark”).
18

19           1.        As evidenced by the return of service on file with this Court, Firstmark was
20
     served via its registered agent C T Corporation System by Front Range Legal Process
21
     Service, Inc., on December 12, 2023, at 5601 South 59th Street, Lincoln, NE 68516. Doc.
22

23
     5-1.

24           2.        The applicable time limit for Firstmark to plead or otherwise respond to this
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     action expired on January 2, 2024.
26
             3.        Firstmark has failed to plead or otherwise respond to the complaint.
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             4.        This request is supported by the attached Declaration of Esther Oise.
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1           Respectfully submitted February 13, 2024.
2
                                                 /s/ Esther Oise
3
                                                 Esther Oise, Esq. (GA Bar #686342)
4                                                Oise Law Group PC
                                                 2635 Governors Walk Blvd.
5                                                Snellville, GA 30078
6                                                Email: oiselaw@gmail.com
                                                 Telephone: (770) 895-3736
7                                                Attorney for Plaintiff
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                                  DECLARATION OF ESTHER OISE
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2    I, Esther Oise, declare as follows:

3             1.      I am the Plaintiff’s attorney in this action. This declaration is based on my
4
     personal knowledge.
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              2.      Defendant Firstmark was served by Front Range Process Service, Inc. on
6

7    December 12, 2023, as evidenced by the return of service on file with this Court. 5-1

8             3.      Under Rule 12, Defendant Firstmark was required to plead or otherwise
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     respond to the complaint by September 1, 2023. The time to plead or otherwise respond to
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     the complaint has not been extended by any agreement of the parties or any order of the
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12   Court.

13            4.      Defendant Firstmark has failed to serve or file a pleading or otherwise
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     respond to the complaint. The applicable time limit for responding to the complaint has
15
     expired.
16

17            5.      Defendant Firstmark is not a minor or an incompetent person.

18            6.      Defendant Firstmark is not currently in the military service, and therefore
19
     Servicemembers Civil Relief Act does not apply.
20
              7.      Therefore, the clerk should enter default against Firstmark under Rule 55(a).
21

22            8.      I declare under penalty of perjury that the foregoing is true and correct.

23
     Executed on: February 13, 2024
24

25

26                                             By: /s/ Esther Oise
                                                   Esther Oise
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                                  CERTIFICATE OF SERVICE
1

2         I hereby certify that on February 13, 2024, I electronically transmitted the foregoing
3    document to the Clerk’s Office using the ECF system for filing and transmittal of a Notice
4
     of Electronic Filing to all CM/ECF registrants of record in this matter.
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6                                           By: /s/ Esther Oise
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